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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 KEVIN JOSEPH KELLY, et al.,                            Case No. 2:19-cv-01706-JDW

                    Plaintiffs

           v.

 REALPAGE, INC. d/b/a On-Site, et al.,

                    Defendants


                                                  ORDER

          AND NOW, this 25th day of February, 2021, upon consideration of Plaintiffs’ Motion to

File Under Seal (ECF No. 78), the Court notes as follows:

          1.       The common law presumes that the public has a right of access to judicial materials

(see In re Avandia Marketing, Sales Practices and Prods. Liab. Litig., 924 F.3d 662, 672 (3d Cir.

2019));

          2.       To overcome the common law presumption, a movant must show that an interest

in secrecy outweighs the presumption by demonstrating that the material is the kind of information

that courts will protect and that disclosure will work a clearly defined and serious injury to the

party seeking closure (see id.);

          3.       Under Third Circuit law, a party seeking to file material under seal must make a

specific showing, and “[b]road allegations of harm, bereft of specific examples or articulated

reasoning, are insufficient” (In re Cendant Corp., 260 F.3d 183, 194 (3d Cir. 2001));

          4.       Plaintiffs seek to file under seal Exhibits 2 (ECF No. 79-3), 10 (ECF No. 79-11),

11 (ECF No. 79-12), and 17 (ECF No. 79-18); as well as portions of Exhibits 8 (ECF No. 79-9),

18 (ECF No. 79-19), and 19 (ECF No. 79-20).
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       5.       Additionally, Plaintiffs seek to file under seal portions of the Memorandum of Law

in Opposition to Motion for Partial Summary Judgement (ECF No. 79) and Combined Response

to the Separate Statement of Undisputed Material Facts and Statement of Additional Material Facts

in Opposition to the Motion (ECF No. 79-1.)

       6.       Although Plaintiffs filed this Motion, it is Defendants whose interests are at stake

and who previously established that they have a confidentially interest in the testimony filed in

connection with Plaintiffs’ Motion to Certify Class (ECF No. 44), material that this Court already

ordered to be sealed (see ECF 49.)

       7.       The materials contained in Exhibit 2, 10, 11, and 17 is that testimony, which this

Court already ordered to be sealed (see ECF 49.)

       8.       But neither the Defendants nor the Plaintiffs have established that they have a

confidentiality interest in Exhibits 8, 18, and 19.

       9.       Defendants have designated these exhibits as “Confidential.” But this designation

has no bearing on the Court’s analysis. If parties could overcome a presumption of public access

just by designating documents “confidential,” the right of public access would be meaningless.

Someone must make an actual showing before the Court will seal any particular document.

       Therefore, for the foregoing reasons, it is ORDERED that Plaintiffs’ Motion to File Under

Seal (ECF No. 78) is GRANTED IN PART and DENIED IN PART.

       It is FURTHER ORDERED that Plaintiffs may file under seal Exhibits 2, 10, 11, and 17

(ECF Nos. 79-3, 79-11, 79-12, and 79-18).

       It is FURTHER ORDERED that Plaintiffs shall supply to the Clerk of Court unredacted

versions of Exhibits 8, 18, 19 (ECF Nos. 79-9, 79-19, and 79-20), and the Clerk of Court shall

substitute the unredacted versions on the public record.


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       It is FURTHER ORDERED that Plaintiffs may file redacted versions of their

Memorandum of Law in Opposition to Motion for Partial Summary Judgement (ECF No. 79) and

Statement of Facts (ECF No. 79-1) only to the extent that it references testimony previously sealed

by this Court (see ECF No. 49.)

                                                     BY THE COURT:


                                                     /s/ Joshua D. Wolson
                                                     JOSHUA D. WOLSON, J.




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